                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


 BECKY A. SELBY,                                 )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )   No. 2:20-cv-00016
                                                 )
 HOLLY T. SCHROEDER,                             )
                                                 )
        Defendant.                               )

                                            ORDER

       In open Court, Holly T. Schroeder informed the Court that she was withdrawing her

affirmative defense of failure of a condition precedent and anticipatory repudiation. Accordingly,

those affirmative defenses are DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED.


                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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